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 9
                             UNITED STATES DISTRICT COURT
10
                         CENTRAL DISTRICT OF CALIFORNIA
11
12                                        )
   KIMBERLY J. ZION, individually and     )       Case No.: 8:14-cv-01134-JVS-JDE
13 as successor in interest to CONNOR     )
   ZION                                   )       [Assigned to the Honorable James V.
14                                        )       Selna - Courtroom 10C]
         Plaintiff,                       )
15                     v.                 )
                                          )       PLAINTIFF’S JUDGMENT AFTER
16 COUNTY OF ORANGE, MICHAEL              )       JURY TRIAL
   HIGGINS, and DOES 1 through 10,        )
17 inclusive,                             )
                                          )       Complaint filed:      July 18, 2014
18        Defendants.                     )       Disc. Cut-Off:       July 20, 2015
                                          )       Mtn. Hrg. Cut-Off:   December 17, 2018
19                                                Trial Date:          January 8, 2019
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 1         This action came on regularly for trial on January 8, 2019, in Courtroom 10C of
 2 this United States District Court. Plaintiffs were represented by attorneys Dan
 3 Stormer, Esq., Cindy Pánuco, Esq., and Brian D. Olney, Esq., of Hadsell
 4 Stormer & Renick LLP. Defendants County of Orange and Michael Higgins, were
 5 represented by Daniel Spradlin Esq. and Jeanne Tollison Esq., of Woodruff, Spradlin, &
 6 Smart, APC.
 7         A jury of eight persons was regularly empaneled and sworn. Before the trial began,
 8 one sworn juror was excused for cause. The case was tried in a liability and damages
 9 phase to seven sworn jurors. Witnesses were sworn and testified. After hearing the
10 evidence and arguments of counsel, the jury was duly instructed by the Court and the
11 liability case was submitted to the jury on January 16, 2018. The jury returned a finding
12 of liability on Plaintiff’s Fourth Amendment Claim on January 18, 2018. The damages
13 phase of the trial was tried, and the jury was duly instructed by the Court on January 22,
14 2019.
15         The jury deliberated and thereafter returned liability and damages verdicts as
16 follows:
17    First Federal Claim: Excessive Force (Fourth Amendment Claim) (liability phase)
18         Question 1: Did plaintiff as successor to Connor Zion prove her claim that
19 Michael Higgins used excessive force against Connor Zion in violation of the
20 Fourth Amendment?
21                                   Yes    X    No _____
22         Second Federal Claim: Interference with Family Relationship (Fourteenth
23                            Amendment Claim) (liability phase)
24         Question 2: Did plaintiff prove her claim that Michael Higgins kicked Connor Zion
25 in the head in violation of the Fourteenth Amendment?
26                                   Yes _____ No X
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 1                             Punitive Damages (liability phase)

 2         Question 3: Do you find that Michael Higgins acted with malice or oppression, or

 3 engaged in despicable conduct?
 4                                    Yes _____ No       X

 5              First State Claim: Tom Bane Civil Rights Act (liability phase)
 6         Question 4: Did plaintiff as successor to Connor Zion prove her claim that Michael
 7 Higgins violated the Bane Act?
 8                                    Yes _____ No       X
 9                  Second State Claim: Wrongful Death (liability phase)
10         Question 5: Was the County of Orange or any of its employees, including Michael
11 Higgins, negligent and a cause of harm to Connor Zion?
12                                 Yes X No _____
13         Question 6: Was Michael Higgins negligent and a cause of harm to Connor Zion?
14                                    Yes    X       No _____
15         Question 7: Was Connor Zion negligent?
16                                    Yes    X       No _____
17         Question 8: What percentage of negligence do you assign to Michael Higgins, and
18 what percentage of negligence do you assign to Connor Zion and/or others? (Your total
19 must equal 100%.)
20                            Michael Higgins                9%
21                            County Defendants              6%
22                            Other                          12%
23                            Connor Zion                    73%
24                                          Total:           100%
25         Question 9: Was the County of Orange’s negligence, including the negligence of
26 Michael Higgins or any of its employees, a substantial factor in causing Connor Zion’s
27 death?
28                                    Yes _____ No       X


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 1         Question 10: Was Michael Higgins’s negligence a substantial factor in causing
 2 Connor Zion’s death?
 3                                  Yes _____ No       X
 4         Question 11: Was Michael Higgins’s excessive force a substantial factor in causing
 5 Connor Zion’s death?
 6                                  Yes _____ No       X
 7 First Federal Claim: Excessive Force (Fourth Amendment Claim) (damages phase)
 8         Question 1: What are Connor Zion’s non-economic damages?
 9                                              $360,000
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11         Now, therefore, pursuant to Rules 54, 58, and 79 of the Federal Rules of Civil
12 Procedure, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that final
13 judgment in this action be entered as follows:
14         1.    Judgment on Plaintiff’s Claim under the Fourth Amendment for Excessive
15               Force by Michael Higgins is entered in favor of Plaintiff.
16         2.    Plaintiff is awarded $360,000 in non-economic damages on her Fourth
17               Amendment Claim.
18         3.    Plaintiff may recover fees and costs to the extent provided by statute, rules
19               of procedure, and law.
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23 Dated: February 6, 2019                 _____________________________
                                                 United States District Judge
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